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IN THE UNITED sTATEs DISTRICT coURT "‘EB BY ~€~?L D.c.
FOR THE WESTERN DISTRICT oF TENNESSEE 05 JU
WESTERN DIvIsIoN L llc PH lp 53
FLORENCE HALL, U;US OF%SY;CTM
1 EMPHS
Plaintiff,
vs. No. 04-2299-Mav

JOHN SNOW, Secretary,
U. S. Dept. of the Treasury,

Defendant.

 

ORDER AMENDING SCHEDULE

 

Pursuant to defendant’s May 20, 2005, motion to amend the
scheduling order in this matter, the court held a status
Conference on June 30, 2005. Attending on behalf of herself was
pro se plaintiff, Florence Hall. Participating on behalf of the
defendants was Linda Harris. For good cause shown, the court

grants the motion and amends the scheduling order as follows:

l. The deadline for completing discovery is August 1,
2005.
2. The deadline for filing potentially dispositive motions

is August 15, 2005; responses are due August 30, 2005.
3. The parties will submit a joint proposed pretrial order
by 4:30 p.m. on September 22, 2005.
4. A pretrial conference is set Thursday, September 29,
2005, at 9:00 a.m.

5. The non-jury trial is reset to Tuesday, October ll,

his document entered on the docket sheet in compliance
with Ru\e bd and/or TQ(a) FHCP on

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2005, at 9:30 a.m. and is expected to take 2 days.
The magistrate judge will conduct a settlement conference in
this matter.
Absent good cause, the amended schedule set by this order
will not be modified or extended.

30 oRDERED this "'M\day Of July, 2005.

jJ</L

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 26 in
case 2:04-CV-02299 Was distributed by faX, mail, or direct printing on
July ]8, 2005 to the parties listed.

 

Florence A. Hall
3615 Sharpe Avenue
i\/lemphis7 TN 38111

Linda N. Harris

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

